                                 IN	  THE	  UNITED	  STATES	  DISTRICT	  COURT	  
                                        MIDDLE	  DISTRICT	  OF	  TENNESSEE	  
                                               NASHVILLE	  DIVISION	  
                                                                    	  
UNITED	  STATES	  OF	  AMERICA	  	          	       	  )	  
	       	     	         	           	       	       	  )	        NO.	  	  3:13-­‐cr-­‐00069-­‐3	  
v.	     	     	         	           	       	       	  )	        JUDGE	  CAMPBELL	  
                                                          	  )	        MAGISTRATE	  JUDGE	  BROWN	  
CLAUDIO	  PILLADO-­‐CABRERA	  	               	       	  )	  
                                                                    	  
                                MOTION	  TO	  CANCEL	  DETENTION	  HEARING	  
	  	  
	       Defendant	   Claudio	   Pillado-­‐Cabrera,	   through	   counsel,	   moves	   this	   Court	   to	   strike	  

defendant’s	  Motion	  for	  Detention	  Hearing	  from	  the	  Court’s	  docket	  currently	  scheduled	  for	  

June	  20,	  2013	  at	  2:30	  p.m.	  (Docket	  No.	  54).	  	  In	  support	  defendant	  would	  show:	  

	           1.	          Defendant’s	   detention	   hearing	   is	   currently	   scheduled	   for	   June	   20,	   2013	   at	  

2:30	  p.m.	  (Docket	  No.	  54).	  	  	  	  

	           2.	          Defendant	  is	  cancelling	  his	  request	  to	  proceed	  with	  the	  detention	  hearing	  at	  

this	   time,	   but	   reserves	   his	   right	   to	   seek	   a	   hearing	   on	   pretrial	   release	   at	   some	   point	   in	   the	  

future,	  if	  appropriate.	  	  

	           3.	          Counsel	   has	   spoken	   to	   Assistant	   United	   States	   Attorney	   Alex	   Little	   and	   the	  

government	   does	   not	   oppose	   this	   motion,	   nor	   does	   the	   government	   oppose	   defendant’s	  

right	  to	  request	  a	  hearing	  for	  pretrial	  release	  at	  some	  point	  in	  the	  future,	  if	  necessary.	  	  

                                                                 RESPECTFULLY	  SUBMITTED,	  
                                                                                	  
                                                                 s/	  Michael	  E.	  Terry	   	   	  	  	  
                                                                 MICHAEL	  E.	  TERRY	  (BPRN	  3856)	  
                                                                 STEPHANIE	  H.	  GORE	  (BPRN	  17080)	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
                                                                 Counsel	  for	  Defendant	  
                                                                 	  
                                                                 Terry	  &	  Gore	  
                                                                 1200	  16th	  Avenue,	  South	  
                                                                 Nashville,	  TN	  	  37212	  
                                                                 (615)	  321-­‐2750	  office	  
                                                                 (615)	  250-­‐4915	  fax	  
                                                                 	  



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